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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Pipp Mobile Storage Systems, Inc.
                                           Plaintiff,
v.                                                          Case No.: 1:21−cv−02104
                                                            Honorable Sara L. Ellis
Innovative Growers Equipment, Inc.
                                           Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 4, 2021:


       MINUTE entry before the Honorable Sara L. Ellis: Telephone conference held on
8/4/2021. Joint motion on Plaintiff Pipp's motion to compel initial disclosures by
Defendant compliant with LPR 2.1.(b) [20] is granted in part and denied in part.
Defendant to provide manuals and marketing materials for original product and affidavit
as described on record. Parties agree that affidavit will not be used to show infringement
or knowledge of infringement. Mailed notice(rj, )




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